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                                               Ex. M
      JOSEPH BLAKE EVANS                                        February 23, 2023
      GEORGIA SENATE BILL 202                                                   1

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA
·2

·3

·4·   ·IN RE:· · · · · · · · · · · · )
· ·   · · · · · · · · · · · · · · · ·)
·5·   · · GEORGIA SENATE BILL 202· · )
· ·   · · · · · · · · · · · · · · · ·)
·6·   · · · · · Plaintiff,· · · · · ·)
· ·   ·vs.· · · · · · · · · · · · · ·) Civil Action No.
·7·   · · · · · · · · · · · · · · · ·) 1:21:MI-55555-JPB
· ·   · · · · · · · · · · · · · · · ·)
·8·   · · · · · Defendants.· · · · · )
· ·   · · · · · · · · · · · · · · · ·)
·9·   ·- - - - - - - - - -· - - - - -)

10

11· · · · · · · · · · · · ·DEPOSITION OF

12· · · · · · · · · · · JOSEPH BLAKE EVANS

13

14· · · · · ·Thursday, February 23, 2023, 9:02 a.m.(EST)

15

16

17

18

19

20· · · · · ·HELD AT:

21· · · · · · · Taylor English Duma LLP
· · · · · · · · 1600 Parkwood Circle, Suite 200
22· · · · · · · Atlanta, Georgia· 30339

23
· · · · · ---------------------------------------------
24· · · · · ·WANDA L. ROBINSON, CRR, CCR, No. B-1973
· · · · · ·Certified Shorthand Reporter/Notary Public
25


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·1· ·voting locations.
·2· · · · · · ·And then to some extent voter behavior.
·3· ·You could have -- one thing we've seen, you might go
·4· ·two and a half weeks of advance voting with very,
·5· ·very short to no lines, but then voters -- the last
·6· ·two days the turnout tends to pick up.· So the
·7· ·closer you get to the very end, sometimes the lines
·8· ·pick up a little bit.
·9· · · · · · ·So those are kind of high level things
10· ·that I've seen that lead to lines.
11· · · · Q· · Are you aware of --
12· · · · A· · Also -- I'm sorry to talk over you.
13· · · · Q· · Go ahead.
14· · · · A· · Sometimes you have enough check-in
15· ·stations but the poll workers are not trained
16· ·appropriately, so it's taking too long to check
17· ·people in.
18· · · · Q· · That's actually a good segue.
19· · · · · · ·Actually, before we go to that, is it your
20· ·recollection in your role that during the senatorial
21· ·runoff this past late fall that there were some long
22· ·lines during early voting?
23· · · · A· · You mean December 2022?
24· · · · Q· · Correct.· And there might have been some
25· ·November dates leading up to that, but, yeah, the


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·1· ·runoff which occurred ultimately in early December
·2· ·2022.
·3· · · · A· · There were areas that saw long lines
·4· ·during that time period.
·5· · · · Q· · Based on your experience, do you believe
·6· ·the compressed runoff period contributed to that?
·7· · · · · · ·MR. TYSON:· I'll object to form.
·8· · · · A· · So I think, you know, it kind of goes
·9· ·back.· There's multiple contributing factors.
10· · · · · · ·I think obviously when you look at for a
11· ·general election you got three weeks, for a runoff
12· ·you have less than that.· That is to some degree a
13· ·factor.
14· · · · · · ·Also, counties do select a number of
15· ·advance voting locations.· So as I mentioned
16· ·earlier, number of advance voting locations is a
17· ·factor.
18· · · · · · ·But to answer your question, is the -- I
19· ·think you said shortened or condensed time period,
20· ·that would be a factor.
21· · · · Q· · I'd like to go back to the topic of
22· ·check-in actually that you were just mentioning as a
23· ·factor.
24· · · · · · ·MR. ROSBOROUGH:· Can we mark this as
25· · · · Exhibit 177.


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·1· ·consider whether or not they could write rules that
·2· ·could -- it depends on if they would want to write
·3· ·rules.· But I mean in theory, if that were taken
·4· ·out, counties would be able to adjust the number of
·5· ·drop boxes they had, hypothetically.
·6· · · · Q· · And is the same true with regards to the
·7· ·physical location of the drop boxes, if that portion
·8· ·specifically of SB 202 were eliminated, that it
·9· ·would be up to counties whether to change the
10· ·location of those drop boxes or not?
11· · · · · · ·MR. TYSON:· Object to form.
12· · · · A· · Again, depends on if the State Elections
13· ·Board took any action, that kind of thing.
14· ·Theoretically, if nothing else and the law changed,
15· ·then it seems like they could move the location.
16· · · · Q· · Regarding the provisions on what I'll
17· ·refer to as line relief, in other words, the ban on
18· ·providing food and water and other items of value to
19· ·voters who are waiting in line, do you know the
20· ·provision of SB 202 to which I'm referring?
21· · · · A· · Yes.
22· · · · Q· · Okay.· If a ban on providing food or water
23· ·to outside groups were lifted, any changes would
24· ·primarily be implemented by counties, correct?
25· · · · · · ·MR. TYSON:· Object to form.


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·1· · · · A· · I'm not sure there's anything there for a
·2· ·county to implement.
·3· · · · Q· · Fair enough.
·4· · · · · · ·And in terms of -- are you aware of the
·5· ·provision in SB 202 which imposed new criminal
·6· ·penalties for ballot collection?
·7· · · · A· · Yes.
·8· · · · Q· · If those penalties were struck down, in
·9· ·your experience is there anything your office would
10· ·need to do, apart from issuing guidance to counties?
11· · · · · · ·MR. TYSON:· Object to form.
12· · · · A· · Not that I'm aware.
13· · · · Q· · And you're aware of the provision in SB
14· ·202 which changed the rules regarding the acceptance
15· ·of out-of-precinct provisional ballots; is that
16· ·right?
17· · · · A· · Yes.
18· · · · Q· · If a court were to strike down the changes
19· ·that SB 202 made to those provisions, based on your
20· ·experience what would your office need to do to
21· ·implement those?
22· · · · · · ·MR. TYSON:· Object to form.
23· · · · A· · We would -- going back to the original
24· ·answer, I would speak with our counsel, with our
25· ·attorneys, and then based on their guidance we could


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·1· · · · · · · · · · ·C E R T I F I C A T E

·2

·3· ·STATE OF GEORGIA:

·4· ·FULTON COUNTY:

·5

·6· · · · · · · I hereby certify that the foregoing

·7· ·transcript of JOSEPH BLAKE EVANS was taken down, as

·8· ·stated in the caption, and the questions and answers

·9· ·thereto were reduced by stenographic means under my

10· ·direction;

11· · · · · · ·That the foregoing Pages 1 through

12· ·229 represent a true and correct transcript of

13· ·the evidence given upon said hearing;

14· · · · · · ·And I further certify that I am not of kin

15· ·or counsel to the parties in this case; am not in

16· ·the regular employ of counsel for any of said

17· ·parties; nor am I in anywise interested in the

18· ·result of said case.

19

20· · · · · IN WITNESS WHEREOF, I have hereunto

21· ·subscribed my name this 3rd day of March, 2023.

22

23· · · · · · ·_____________________________________

24· · · · · · ·Wanda L. Robinson, CRR, CCR No. B-1973
· · · · · · · · · My Commission Expires 10/11/2023
25


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